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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

       Plaintiffs,

v.
                                                  Case No. 1:20-cv-03010-APM
Google Inc.

       Defendant.


                            MOTION FOR ADMISSION OF
                        CAITLIN N. FITZPATRICK PRO HAC VICE


       Pursuant to Rule 83.2(c) of the Local Rules of this Court, Anna M. Rathbun,

undersigning sponsoring counsel, respectfully moves the Court for the admission pro hac vice of

Caitlin N. Fitzpatrick of Latham & Watkins LLP, to represent Yahoo! Inc. in the above-

captioned matter. Yahoo! Inc. is expected to offer testimony before this Court in this matter on

Wednesday, April 21, 2025.

       Movant, Anna M. Rathbun, is a member in good standing of the Bar of the District of

Columbia and the United States District Court for the District of Columbia and she is authorized

to file through the Court’s Electronic Filing System. Ms. Rathbun is a Partner in the law firm of

Latham & Watkins LLP located at:

       555 Eleventh Street, NW
       Suite 1000
       Washington, DC 20004-1304
       (202) 637-2200
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       This motion is accompanied by a declaration and certificate of good standing from

Caitlin N. Fitzpatrick, attached hereto as Exhibit A, providing the information required by Rule

83.2(c) of the Local Rules of this Court. As set forth in the declaration, Caitlin N. Fitzpatrick

meets the requirements under Rule 83.2(c) for admission pro hac vice.

       A proposed order is attached hereto as Exhibit B.

       For the foregoing reasons, the undersigned respectfully requests that this motion be

granted and that Caitlin N. Fitzpatrick be permitted to represent Yahoo! Inc.in the proceedings

before this Court.

       Respectfully submitted on this 21st day of April, 2025.



                                                  /s/ Anna M. Rathbun
                                                  Anna M. Rathbun (D.C. Bar #1002562)

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